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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANGELINA KHARCHENKO,
Plaintiff,
V. : NO. 2:22-CV-01421-CMR

WT RAND TRANSPORT, LLC and
WT RAND LOGISTICS, LLC,

Defendants.

MOTION FOR LEAVE TO INTERVENE FOR LIMITED PURPOSE
OF ASSERTING CHARGING LIEN AGAINST PROCEEDS OF
SETTLEMENT OR JUDGMENT IN FAVOR OF PLAINTIFF

Fellerman & Ciarimboli Law, P.C. (“F&C”), by and through its undersigned
counsel, hereby moves for leave to intervene in this action for the limited purpose of
asserting a charging lien against the proceeds of any settlement or judgment in favor
of Plaintiff Angelina Kharchenko and, in support thereof, avers as follows:

1. This case stems from a commercial motor vehicle accident on October
15, 2020 in Bucks County, Pennsylvania which seriously and permanently injured
Ms. Kharchenko.

2. On September 23, 2021, Ms. Kharchenko retained F&C as her counsel

to pursue claims arising out of the October 15, 2020 accident.
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3. Ms. Kharchenko and F&C are parties to a Contingent Fee Agreement
dated September 23, 2021 which provides that, in the event Ms. Kharchenko
discharged F&C before any recovery, F&C would “be entitled to a fee based upon
work done and benefit conferred.” Specifically, she agreed “to assign” and pay to
F&C forty percent (40%) of “the last good faith offer of settlement, or if no
settlement offer has been made, then [Ms. Kharchenko] agrees to compensate” F&C
at an agreed upon hourly rate “for time and effort expended.”!

4. Ms. Kharchenko also agreed to reimburse F&C “out of any recovery,
in addition to attorney’s fees, all costs, expenses, and interest charges incurred on
[her] behalf in order to make the claim.”

5. After F&C was retained by Ms. Kharchenko, F&C conducted a
comprehensive investigation regarding the accident and researched and developed
potential legal theories that might be pursued on Ms. Kharchenko’s behalf, filed a
Complaint on Ms. Kharchenko’s behalf, identified and deposed fact witnesses,
identified and retained liability and damage experts, submitted reports from those
experts, and otherwise acted to position this case for settlement and/or judgment in

Ms. Kharchenko’s favor.

 

1 Ms. Kharchenko has in her possession the Contingent Fee Agreement which
she signed. To preserve confidentiality, the Contingent Fee Agreement is not
attached to this public filing. F&C will provide the Contingent Fee Agreement for
in camera review if it would facilitate the Court’s consideration.

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6. In January 2023, Defendants made a good faith offer to settle Ms.
Kharchenko’s claims.

7. Pursuant to the Scheduling Order dated September 13, 2022 (ECF10),
fact discovery concluded on February 15, 2023 and F&C served expert reports on
that date.

8. A settlement conference is scheduled on March 6, 2023 at 10:00 am
before U.S. Magistrate Judge Wells. (ECF 18.)

9. On February 20, 2023, Ms. Kharchenko discharged F&C and requested
that F&C transfer her file to Michael J. O’Neill, Esquire who was employed at F&C
until February 1, 2023.

10. Before Ms. Kharchenko discharged F&C, F&C secured a good faith
offer of settlement and well positioned her case for the settlement conference on
March 6, 2023.

11. In addition to attorney and paralegal time, F&C advanced substantial

costs in preparing and developing Ms. Kharchenko’s case.’

12. The Contingent Fee Agreement between Ms. Kharchenko and F&C

establishes F&C’s entitlement to reimbursement of costs advanced on behalf of Ms.

 

2 F&C will provide cost information for in camera review if it would facilitate
the Court’s consideration.
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Kharchenko and payment of a fee equal to 40% of the last good faith settlement
offer.

13. If advanced costs are left unpaid after new counsel enters an
appearance, F&C’s participation and risk in the case will be unilaterally extended
by Ms. Kharchenko, thereby warranting F&C’s entitlement to 40% of any increased
settlement offer and ultimate resolution.

14. F&C would be adversely affected by any distribution of proceeds from
a settlement or judgment in Ms. Kharchenko’s favor without satisfaction of amounts
owed to F&C.

15. Accordingly, F&C hereby moves to intervene in this action for the
limited purpose of asserting a charging lien against any settlement or judgment in
favor of Ms. Kharchenko.

16. As detailed in the supporting memorandum filed contemporaneously
herewith, which is incorporated herein by reference, F&C has satisfied the factors
for asserting a charging lien in Recht v. Urban Redevelopment Auth., 168 A.2d 134,
138-39 (Pa. 1961), and has satisfied the standard for intervention under Rule 24(a)(2)
and (b)(1)(B) of the Federal Rules of Civil Procedure.

17. Pursuant to Rule 24(c), attached hereto as Exhibit “A” is the Motion for

Approval of Charging Lien which F&C would file if allowed to intervene.
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18. Accordingly, F&C should be allowed to intervene to assert its
charging lien against any recovery in favor of Ms. Kharchenko.

WHEREFORE, F&C respectfully requests that the Court enter an Order as
follows:

(a) Granting F&C leave to intervene for the purpose of asserting a charging
lien against the proceeds of a recovery in favor of Ms. Kharchenko;

(b) Imposing a charging lien in favor of F&C in an amount equal to 40%
of the last good faith offer of settlement and the total costs advanced on
behalf of Ms. Kharchenko;

(c) Directing that any proceeds arising from resolution of this matter shall
be segregated and held in escrow until this Court adjudicates F&C’s
claimed right to a legal fee and reimbursement of costs; and

(d) Such other and further relief as the Court deems just and equitable.
Respectfully submitted:

/s/ Donna A. Walsh

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Date: March 2, 2023
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CERTIFICATE OF SERVICE
I, Donna A. Walsh, hereby certify that a true and correct copy of the foregoing
Motion for Leave To Intervene For Limited Purpose of Asserting Charging Lien was
served upon the following counsel of record via the Court’s ECF system on this 2nd
day of March, 2023:

Michael J. O’ Neill, Esquire
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/s/ Donna A. Walsh
Donna A. Walsh
